      Case 1:20-cv-03761-TNM          Document 20-5        Filed 11/20/21     Page 1 of 43




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

JOHN NEWMAN                                  :
                                             :
               Plaintiff,                    :       Civil Action No. 1:20-cv-3761(TNM)
                                             :
        v.                                   :
                                             :
FEDERAL BUREAU OF                            :
PRISONS and UNITED                           :
STATES PAROLE COMMISSION,                    :
                                             :
               Defendants.                   :

                        DECLARATION OF DAN L. HARDWAY

     1. My name is Dan L. Hardway. I make this Declaration to the best of my personal

        knowledge and based upon information resulting from research conducted in this case in

        my professional capacity. I represent the Plaintiff John Newman in this case.

2.      I am an attorney admitted to practice in the state of West Virginia, and before the

        Supreme Court of the United States, the United States Tax Court, the United States Court

        of Appeals for the District of Columbia Circuit, and the United States Court of Appeals

        for the Fourth Circuit, and United States District Courts in the District of Columbia and

        West Virginia. I am an inactive member of the bars of the states of North Carolina,

        Florida and Indiana.

3.      On 5 January 2021, after the filing of the complaint in this case, USPC wrote to counsel

        for Newman reporting that a search had been conducted “for the following names in our

        records: Manuel Antonio, Manuel Carlos, Manuel Veciana and Manuel Blanche.” The

        letter also attached a printout of the search conducted in “our search engine for both our

        current system and our Legacy system.” The printout provided with the letter indicated

                                                 1
     Case 1:20-cv-03761-TNM          Document 20-5         Filed 11/20/21   Page 2 of 43




      that only the four name variations reported in the letter were searched by USPC. A copy

      of the letter and printout are attached hereto as Exhibit G.

4.    The National Archives and Records Administration (“NARA”) maintains a facility at

      Suitland, Maryland, known as the Washington National Records Center (“WNRC”).

      Services for the Public, NARA, available at https://www.archives.gov/suitland/public,

      (accessed 11/16/21) a copy of which is attached hereto as Ex. A. The WNRC is the first

      place to which retired agency records are transferred and most of the records held at the

      facility remain under the control of the transferring agency. Id.

5.    When a record is transferred by an agency to the WNRC, the transferring agency

      generates a Records Transmittal and Receipt, Standard Form 135 (“SF-135”), some of

      which have a box list attached. Id.; Thornton Decl. ¶ 20, ECF No. 17-4 at p. 5; Def. Ex.

      D, ECF No. 17-8.

6.    Before records transferred to WNRC are destroyed, WNRC sends the transferring agency

      a Notice of Eligibility for Disposal from NARA that notifies the transferring agency that

      the term of retention of the file is expiring under the relevant Records Disposition

      Authority (“RDA”) and requesting whether the agency wants the files destroyed. Def.

      Ex. B, ECF No. 17-6 at p. 5; Thornton Decl. ¶ 31, ECF No. 17-4 at p. 7.

7.    WNRC maintains copies of the SF-135’s organized by Record Group and year.

      Correspondence from [an NARA Representative]@nara.gov, 15 Nov. 2021, a copy of

      which is attached hereto as Ex. B.

8.    NARA holdings are organized into numbered Record Groups comprising the records of a

      major government entity, usually a bureau or an independent agency. Id.; National

      Archives           Records           Group           Explorer.        Available        at

                                                2
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       https://www.archives.gov/findingaid/record-group-

       explorer?_ga=2.84589913.1377930744.1636994269-2058617894.1634822668, accessed

       11/16/21, relevant portions of which are attached hereto as Ex. C.

9.     USPC has a separate unique Record Group number, RG 438. Id.

10.    SF-135’s with any attached box list maintained by WNRC are available in hard copy files

       and are open to the general public for research and review when the facility is not closed

       due to Covid. See Ex. A. The actual records maintained other than the SF-135’s remain

       under the control of the transferring agency and will not be made available to the public

       without a written request and authorization from the transferring agency. Id.

11.    WNRC is currently closed to the public due to Covid restriction but remains open to

       government employees with business to conduct there. Id. & Ex. B.

12.    Plaintiff’s request to the USPC included request numbered “J” that provided: “If you

       claim that a record responsive to requests A to I above has been destroyed in whole or in

       part, please provide any and all records of that destruction, including but not limited to

       records indicating the date of destruction, a description of exactly what was destroyed,

       any cited authority for the destruction, and any identifying information regarding the

       person(s) who accomplished and recorded the destruction.” Compl. ¶ 18, ECF 2-1 at p.

       6; Compl. Ex. No. 7, ECF 1-1 at p. 49.

13.    Defendant USPC has not searched the available Forms SF-135 at the WNRC in Records

       Group 438 to determine whether there exists a copy covering a transfer of Veciana’s

       parole files to that facility by USPC. Thornton Decl. ¶¶ 28, 29, 30 & 31, ECF No. 17-4 at

       p. 7.




                                                3
      Case 1:20-cv-03761-TNM         Document 20-5        Filed 11/20/21     Page 4 of 43




14.    WNRC says that it can only search for files using the transfer number provided to the

       referring agency on the SF-135. Thornton Decl. ¶ 29, ECF No. 17-4 at p. 7; & Ex. A

       attached hereto.

15.    In 1985 USPC filed a Request for Records Disposition Authority with NARA in Job No.
                                                                                                1
       N1-438-85-02.      NARA      RDA     Job     No.     N1-438-85-02      available   at

       https://www.archives.gov/files/records-mgmt/rcs/schedules/departments/department-of-

       justice/rg-0438/nc1-438-85-02_sf115.pdf, accessed 11/16/21, a copy of which is attached

       hereto as Ex. D. This Request pertains to USPC machine readable files including a

       master file of parole decision histories. The master file, was a database which included

       “all individual paroling considerations.” Id. Each record in the database contained

       approximately forty items including parole decisions. Each record in the database was

       identified by the parolee’s register number. The RDA designated the master file a

       permanent record. Id.

16.    NCI-438-85-02 remained in effect until superseded in part by NI-438-00-001 which

       became effective in October of 2000 and reflects a change of name and a change in

       format from microfilm to “ASCII flat file.” Id.; NARA RDA Job No. N1-438-00-001,

       available                   at                     https://www.archives.gov/files/records-

       mgmt/rcs/schedules/departments/department-of-justice/rg-0438/n1-438-00-

       001_sf115.pdf, accessed 11/16/21, a copy of which is attached hereto as Exhibit E. The

       name of the system was changed from “Parole Decision History” to “Decision Reporting

       and Monitoring System.” The new SAS system convertible to an ASCII flat file is a

       database that includes: “Bureau of Prisons registration number, offense, sentencing date,

       sentence length, parole decision parameters … and parole hearing results.” Id. This

                                               4
     Case 1:20-cv-03761-TNM          Document 20-5         Filed 11/20/21    Page 5 of 43




       USPC database was designated a permanent record and USPC is required to transfer a

       copy to NARA every 5 years. Id. This RDA remains in effect. Reference Control

       Schedules,       RG-438,       available       at       https://www.archives.gov/records-

       mgmt/rcs/schedules/index.html?dir=departments/department-of-justice/rg-0438, accessed

       11/17/2021, a copy of which is attached hereto as Exhibit F.

       I make this declaration pursuant to the provisions of 28 U.S.C. § 1746, under penalty of

perjury.

       Executed this 20th day of November 2021.

                                    /s/ Dan L. Hardway
                                    ____________________________________
                                                   Dan L Hardway




                                               5
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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

JOHN NEWMAN                        :
                                   :
          Plaintiff,               :         Civil Action No. 1:20-cv-3761(TNM)
                                   :
    v.                             :
                                   :
FEDERAL BUREAU OF                  :
PRISONS and UNITED                 :
STATES PAROLE COMMISSION,          :
                                   :
          Defendants.              :



                           DECLARATION OF DAN L HARDWAY

                                           EXHIBIT A




                                       1
Services for the Public | National Archives                                                  https://www.archives.gov/suitland/public
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                   
                            Suitland closure
                            Due to the coronavirus public health emergency, the WNRC will be closed to the
                            public, until further notice.
                            More information about the National Archives' response to coronavirus can be found
                            at archives.gov/coronavirus



                 Services for the Public
                  • Introduction
                  • Researching Federal agency records


                 Introduction
                 The Washington National Records Center (WNRC)
                 provides reference services for records of Federal
                 agencies located in the District of Columbia, Maryland,
                 Virginia, and West Virginia.
                                                                          The Washington National Records
                 WNRC is the first stop for records a�er they are no
                                                                          Center in Suitland, Maryland
                 longer actively used by the Federal agency of origin.
                 WNRC also has records of Federal Courts located in the
                 District of Columbia and serves the Armed Forces worldwide.

                 Agency records stay at the WNRC, where they are tracked through an automated database, until
                 they are either destroyed through recycling or accepted by NARA as permanent records. Access
                 to most records stored at the facility is controlled by the agency of origin, however court
                 records are open to the public.

                 Researching Federal agency records at the WNRC
                 The transferring agency, as the legal custodian, controls access to the records. A written
                 request and authorization must be obtained from the transferring agency before the
                 records can be used. The written request and authorization must reach the Reference Services
                 Branch at least one day before the researcher's visit, and written authorization must include
                 the following information:
                  • Transfer number



                  Hardway Declaration                         Exhibit A                                    Page 1
                  1:20-cv-3761(TNM)
1 of 2                                                                                                         11/16/2021, 12:10 PM
Services for the Public | National Archives                                                           https://www.archives.gov/suitland/public
                        Case 1:20-cv-03761-TNM               Document 20-5        Filed 11/20/21      Page 8 of 43


                  • Records center location
                  • Box number
                  • File designation of the requested records
                  • Written evidence of security clearance if the records are classified
                 All researchers must present personal identification upon entering the WNRC. Contact the
                 Reference Services Branch * at (301) 778-1540 for further information.

                 The Transfer and Disposition Branch controls the inventory of the agency records stored at the
                 WNRC. Researchers may use the unclassified Standard Forms (SF) 135, Records Transmittal and
                 Receipt and box lists, if available. If photocopies of SFs 135 are required, WNRC sta� will copy
                 the documents for you at a cost of $.65 per page. You may pay by cash, check, money order, or
                 credit card for the exact number of copies you need. Contact the Transfer and Disposition
                 Branch * at (301) 778-1650 for further information.

                 Photocopies of Federal agency record may be purchased one of three ways (please note that
                 these fees DO NOT apply to Court records at the WNRC):
                 1. $.65 per page using a self-service copier which is attached to a debit card machine. The
                    copier accepts a debit card which you may purchase for a minimum of one dollar. The debit
                    card machine accepts one, five, or ten dollar bills. Any unused monies on debit cards may
                    be used on subsequent trips to any National Archives Research Room. Refunds cannot be
                    given on debit cards.
                 2. $.65 per page by paying the research room attendant for each copy you produce. You may
                    pay by cash, check, money order, or credit card for the exact number of copies.
                 3. WNRC sta� will copy the documents for you at a cost of $17.00 per 15 minutes of labor. You
                    may pay by cash, check, money order, or credit card for the exact number of copies.

                 * Please see our Privacy Statement




                                              The U.S. National Archives and Records Administration
                                                        1-86-NARA-NARA or 1-866-272-6272




                  Hardway Declaration                               Exhibit A                                       Page 2
                  1:20-cv-3761(TNM)
2 of 2                                                                                                                  11/16/2021, 12:10 PM
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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

JOHN NEWMAN                        :
                                   :
          Plaintiff,               :        Civil Action No. 1:20-cv-3761(TNM)
                                   :
    v.                             :
                                   :
FEDERAL BUREAU OF                  :
PRISONS and UNITED                 :
STATES PAROLE COMMISSION,          :
                                   :
          Defendants.              :



                           DECLARATION OF DAN L HARDWAY

                                           EXHIBIT B




                                       1
Gmail - Research question.                                                https://mail.google.com/mail/u/0/?ik=50484c8cd7&view=pt&search=al...
                       Case 1:20-cv-03761-TNM             Document 20-5          Filed 11/20/21        Page 10 of 43


                                                                                             Dan Hardway <titus313@gmail.com>



          Research question.
          5 messages

          Dan Hardway <dan@hardwaylaw.com>                                                            Fri, Nov 12, 2021 at 11:34 AM
          To:             @nara.gov

            Dear Ms.

            I contacted the telephone number on the website for the WNRC for further information about doing research there and
            the gentleman who answered the phone said I should address my question to you.

            I realize that the WNRC is currently closed to the public due to Covid, but I hope to do some research there once the
            Center reopens. I am a member of the public and an attorney.

            My question relates the the SF-135 Forms. The website states: " Researchers may use the unclassified Standard
            Forms (SF) 135, Records Transmittal and Receipt and box lists...." My question is how are the SF 135's and box lists
            organized and maintained and how are they searchable -- by agency? by name? by date, etc.

            Thank you for your soonest response.

            Dan

            --
            Dan L. Hardway
            PO Box 625
            Cowen, WV 26206
            (304) 449-4722
            fax: (304) 405-2141
            dan@hardwaylaw.com
            SAPERE AUDE

            "Pardon me, hounded hope, for laughing now and again....
            I apologize to big questions for small answers.
            O Truth, do not pay me too much heed."

              --- Wislawa Szymborska




                           <             @nara.gov>                                                  Mon, Nov 15, 2021 at 11:14 AM
          To: Dan Hardway <dan@hardwaylaw.com>

            Good Morning Dan,

            Currently our Research Room is closed.

            My question is how are the SF 135's and box lists organized and maintained and how are they searchable -- by
            agency? by name? by date, etc.

            SF 135 are maintained by record group and year transfered to Record center. Some may contain box list.
                Hardway Declaration                             Exhibit B                                          Page 1
                1:20-cv-3761(TNM)
1 of 2                                                                                                               11/15/2021, 12:05 PM
Gmail - Research question.                                               https://mail.google.com/mail/u/0/?ik=50484c8cd7&view=pt&search=al...
                         Case 1:20-cv-03761-TNM          Document 20-5          Filed 11/20/21       Page 11 of 43


            [Quoted text hidden]
            --

                                   @nara.gov




          Dan Hardway <dan@hardwaylaw.com>                                                         Mon, Nov 15, 2021 at 11:34 AM
          To:              <             @nara.gov>

            Dear

            Thank you for your response. Please clarify what a "record group" is for me. Are the records grouped by transferring
            agency, for example.

            Thank you for your time and consideration of my questions and your prompt response.

            Dan
            [Quoted text hidden]



                           <             @nara.gov>                                                Mon, Nov 15, 2021 at 11:42 AM
          To: Dan Hardway <dan@hardwaylaw.com>

            Please let me know if you access this website. This might be helpful.
            https://www.archives.gov/findingaid/record-group-explorer?_ga=2.84589913.1377930744.1636994269-
            2058617894.1634822668
            [Quoted text hidden]



          Dan Hardway <dan@hardwaylaw.com>                                                         Mon, Nov 15, 2021 at 11:49 AM
          To:              <             @nara.gov>

            Very helpful. Again, thank you.

            Dan
            [Quoted text hidden]




                  Hardway Declaration                             Exhibit B                                          Page 2
                  1:20-cv-3761(TNM)
2 of 2                                                                                                                  11/15/2021, 12:05 PM
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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

JOHN NEWMAN                      :
                                 :
         Plaintiff,              :        Civil Action No. 1:20-cv-3761(TNM)
                                 :
    v.                           :
                                 :
FEDERAL BUREAU OF                :
PRISONS and UNITED               :
STATES PAROLE COMMISSION,        :
                                 :
         Defendants.             :



                          DECLARATION OF DAN L HARDWAY

                                         EXHIBIT C




                                     1
Record Group Explorer | National Archives                            https://www.archives.gov/findingaid/record-group-explorer?_ga=2.8458...
                      Case 1:20-cv-03761-TNM            Document 20-5        Filed 11/20/21        Page 13 of 43


             Top




               Record Group Explorer
               Welcome to NARA's Record Group Explorer. Permanent federal records held by NARA are
               organized into numbered Record Groups comprising the records of a major government entity,
               usually a bureau or an independent agency.

               This visualization presents NARA's Record Groups in descending order from the Record Group
               with the largest number of textual records to the smallest.




                    1.253%


                                   As of October 2021, there are 144,720,174 scans online representing
                                1.253%   of the estimated
                                   11,546,771,002         total total
                                                     estimated  number    of textual
                                                                      textual  pagespages
                                                                                     (Learninmore
                                                                                              NARA's holdings.
                                                                                                  about these
                                numbers)

                         Volume of Textual Records

                         % / # Textual Records Scanned

                         Additional Records Online

                         No Records Online


                    Record Group Explorer Tools
                             Show number
                                   Switchof
                                         toscans   online
                                            list view

                      Search Record Group Titles or Numbers                   


                                                                                          RG 21 District Courts of the
                                                                                                United States




                                                                                                                   0.490%


                Hardway Declaration                            Exhibit C                                           Page 1
                1:20-cv-3761(TNM)
1 of 123                                                                                                              11/16/2021, 12:21 PM
Record Group Explorer | National Archives                        https://www.archives.gov/findingaid/record-group-explorer?_ga=2.8458...
                      Case 1:20-cv-03761-TNM          Document 20-5      Filed 11/20/21        Page 14 of 43




                      RG 146 U.S. Civil Service
                           Commission




                                            <0.001%



                  RG 24 Bureau of Naval Personnel




                                             4.370%



                         RG 319 Army Sta�




                                             0.010%



                 RG 241 Patent & Trademark O�ice




                   RG 15 Department of Veterans
                              A�airs




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                Hardway Declaration                        Exhibit C                                           Page 2
                1:20-cv-3761(TNM)
2 of 123                                                                                                          11/16/2021, 12:21 PM
Record Group Explorer | National Archives                        https://www.archives.gov/findingaid/record-group-explorer?_ga=2.8458...
                      Case 1:20-cv-03761-TNM          Document 20-5      Filed 11/20/21        Page 15 of 43




                  RG 438 U.S. Parole Commission




                  RG 539 Sentencing Commission




                                            <0.001%



                   RG 532 U.S. Space Command




                 RG 376 RG number was cancelled,
                            see RG 489




                 RG 401 Materials Relating to Polar
                             Regions




                Hardway Declaration                        Exhibit C                                           Page 3
                1:20-cv-3761(TNM)
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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

JOHN NEWMAN                      :
                                 :
         Plaintiff,              :         Civil Action No. 1:20-cv-3761(TNM)
                                 :
    v.                           :
                                 :
FEDERAL BUREAU OF                :
PRISONS and UNITED               :
STATES PAROLE COMMISSION,        :
                                 :
         Defendants.             :



                          DECLARATION OF DAN L HARDWAY

                                         EXHIBIT D




                                     1
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                      UNITED STATES DISTRICT COURT
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                                 :
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                                 :
FEDERAL BUREAU OF                :
PRISONS and UNITED               :
STATES PAROLE COMMISSION,        :
                                 :
         Defendants.             :



                          DECLARATION OF DAN L HARDWAY

                                         EXHIBIT E




                                     1
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                      UNITED STATES DISTRICT COURT
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                                 :
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                                 :
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FEDERAL BUREAU OF                :
PRISONS and UNITED               :
STATES PAROLE COMMISSION,        :
                                 :
         Defendants.             :



                          DECLARATION OF DAN L HARDWAY

                                         EXHIBIT F




                                     1
Records Control Schedules | National Archives                    https://www.archives.gov/records-mgmt/rcs/schedules/index.html?dir=/d...
                      Case 1:20-cv-03761-TNM        Document 20-5        Filed 11/20/21        Page 25 of 43




                Records Control Schedules
                These requests for disposition authority documents are agency requests to NARA submitted
                since 1973. Older items may have subsequently been superseded by more recent submissions.
                Please see the FAQ for more information. Questions about active disposition authorities should
                be directed to the agency records o�icer.

                NOTE: NARAʼs process for determining which records schedules in the RCS are currently valid is
                an ongoing work in progress. Records schedules will be marked inactive when all items on the
                schedule have been superseded. Before implementing disposition using these records
                schedules, always verify that you are using the most recent and current disposition authority
                (or item).


                 Full Text:                               Job No:                                        RG:
                                                 Go                                             Go        Go




                 Hardway Declaration                       Exhibit F                                            Page 1
                 1:20-cv-3761(TNM)
1 of 4                                                                                                              11/19/2021, 5:33 PM
Records Control Schedules | National Archives              https://www.archives.gov/records-mgmt/rcs/schedules/index.html?dir=/d...
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                  Search Tips




                 Hardway Declaration                 Exhibit F                                            Page 2
                 1:20-cv-3761(TNM)
2 of 4                                                                                                        11/19/2021, 5:33 PM
Records Control Schedules | National Archives                     https://www.archives.gov/records-mgmt/rcs/schedules/index.html?dir=/d...
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                  Tip 1: Use Phrases in Quotes
                  Example: "audit files"

                  Without quotation marks, any page containing the words "audit" OR "files" will appear in
                  results.
                  When surrounded by quotation marks, the words are treated as a phrase and only pages
                  with the exact phrase "audit files" will appear in results. This is the most powerful
                  query refinement technique.

                  Tip 2: Use a Plus (+) or Minus (-) Sign to Require or Reject
                  Words
                  Example: audit files +system -withdrawn

                  You can require that the word "system" be in any documents in the results list by placing a
                  plus (+) sign before it.
                  You can reject words with the minus (-) sign.
                  In the example, no documents with the word "withdrawn" will appear on the results page
                  unless a search engine is programmed to make them appear above the regular results list.

                  Tip 3: Combine Tips 1, 2
                  Example: audit files +"Internal Revenue Service" +system

                  By combining phrases with a plus (+) or minus (-) sign, and capitalizing where it's
                  appropriate, you can increase the relevance of search results.

                  Tip 4: Spell Out All Acronyms
                  Example: Internal Revenue Service (IRS)

                  Avoid using acronyms for instance: IRS for Internal Revenue Service can be mistaken for
                  another acronym such as IRS-CI and e�ect search results.

                  Tip 5: Searching by Job Number
                  Example: N1-016-00-001

                  NOTE: You MUST enter the job number in the correct format. Consult the SF 15 Numbering
                  Key if necessary.




                 Hardway Declaration                        Exhibit F                                            Page 3
                 1:20-cv-3761(TNM)
3 of 4                                                                                                               11/19/2021, 5:33 PM
Records Control Schedules | National Archives                            https://www.archives.gov/records-mgmt/rcs/schedules/index.html?dir=/d...
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                RG-0438: U.S. Parole Commission
                     Go up one directory level       Export to Excel


                                                                                                         Number/Filename
                     Title
                                                                                                    ↓

                 Decision Reporting and Monitoring (DRAM) System                                    N1-438-00-001

                 Witness Protection (WITSEC) Program                                                N1-438-88-001

                 District of Columbia Board of Parole Case Files                                    N1-438-98-001

                 Regional O�ice Inmate Case Files Inactive                                          NC-438-75-001

                 Regional Files                                                                     NC1-438-79-01

                 Litigation Case Files                                                              NC1-438-85-01

                 Parole Decision History; Parole Decision Making System                             NC1-438-85-02




                                          The U.S. National Archives and Records Administration
                                                    1-86-NARA-NARA or 1-866-272-6272




                 Hardway Declaration                               Exhibit F                                            Page 4
                 1:20-cv-3761(TNM)
4 of 4                                                                                                                      11/19/2021, 5:33 PM
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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

JOHN NEWMAN                      :
                                 :
         Plaintiff,              :         Civil Action No. 1:20-cv-3761(TNM)
                                 :
    v.                           :
                                 :
FEDERAL BUREAU OF                :
PRISONS and UNITED               :
STATES PAROLE COMMISSION,        :
                                 :
         Defendants.             :



                          DECLARATION OF DAN L HARDWAY

                                         EXHIBIT G




                                     1
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